05/10/05 TUE 12:16 FAX 2022755864 foas5
Case: 05-30027 Document: 34: 7 _ Filed: 05/11/05 Page 1 of 13

UNITED STATES DEPARTMENT OF EDUCATION
STUDENT FINANCIAL ASSISTANCE >
CASE MANAGEMENT & OVERSIGHT

 

PROGRAM PARTICIPATION AGREEMENT
[PROVISIONAL APPROVAL]

Effective Date of Approval: The date on which this Agreement is signed on behalf of
the Secretary of Education

Approval Expiration Date: June 30, 2005

Reapplication Date: March 31, 2005

Name of Institution: Si Tanka/Huron University

Address of Institution: 435 North Elm Street
Eagle Butte, SD 57625-0000

OPE ID Number: 03019200
DUNS Number: 119384063
Taxpayer Identification Number (TIN): 430351565

 

 
  

The execution of this Agreement by the Institution and the
Secretary is a prerequisite to the Institution's inital or
continued participation in any Title IV, HEA Program.

 
     

 

The postsacondary educational institution listed above, reforred to hereafter as the "Institution," and the United

States Secretary of Education, referted to heresfter as the "Secretary," agree that the Institution may participate

in those student financial assistance programs authorized by Title [V of the Higher Education Act of 1965, as

amended (Title IV, HBA Programs) indicated under this Agreement and further agrees that such participation is
- subject to the terms and conditions set forth in this Agreement, As used in this Agrecment, the term

"Department" refers to the U.S. Department of Education.

SCOPE OF COVERAGE

This Agreement applics to all locations of the Institution ss stated on the most current BLIGIBILITY AND
CERTIFICATION APPROVAL REPORT issued by the Department. This Agreement covers the Institution's
eligibility to participate in each of the following listed Title IV, HEA programs, and incorporates by reference
the regulations cited.

© FEDERAL PELL GRANT PROGRAM, 20 U.S.C. 10700 at seq; 34 CFR Part 690. ‘

e FEDERAL FAMILY EDUCATION LOAN PROGRAM, 20 U.S.C. 1071 et seg; 34 CFR Part 682,

 

OPE ID: 03019200 Page | . Ver. 07/01

Enclosure 1

me a Ss . EXHIBIF-2
05/10/05 TUE 12:16 FAX 2022755864 dons
Case: 05-30027 Document: 44° 2 _ Filed: 05/11/05 Page 2 of 13

« FEDERAL PERKINS LOAN PROGRAM, 20 U.S.C. /087aq et seq: 34 CFR Part 674.

« FEDERAL SUPPLEMENTAL EDUCATIONAL OPPORTUNITY GRANT PROGRAM,
20 U.S.C. 1070b et seq; 34 CFR Part 676,

‘¢ FEDERAL WORK-STUDY PROGRAM, 42 U.S.C. 275 ¢6 seg; 34 CFR Part 675.

PROVISIONAL CERTIFICATION

This provisional certification is granted for a limited period to permit the Institution te participate in the Title IV,
HEA programs referenced in this Agreement. During the period of provisional certification, the participation of
the Institution will be subject to revocation for cause. Cause for revocation includes, without limitation, a failure
to comply with any provision set forth in this Agreement, a violation of Department regulations deemed material
by the Department, or a material misrepresettation in the material submitted to the Department as part of the
Institution's application process for this certification, The Department in its sole discretion may provide the
Institution with an opportunity to cure any such failure, may place the Institution on reimbursement funding
pending a decision regarding revocation of this Agreement by a designated Department official, or may suspend
the participation of the Institution pending a decision by the Department regarding revocation of this Agreement,
In the event the Department chooses to tevoke this Agreement and the Institution's participation in the Title IV,
HEA programs, the Institution will have the right to show cause why this Agreement should not be revoked by
presenting its objections to the designated Department official in writing. The Institution agrees that this
opportunity to show cause, aud not the procedures in 34 CFR 668 subpart G, shall be the sale administrative
appeal regarding such revocation. The decision by the designated Department official will constitute the final
agency action.

Special Requirements for Substantial Changes Made During Term of Provisional Certification

Any institution, whether provisionally certified or generally certified, must apply for and receive approval by the
Secretary of any substantial change (as hereinefter identified) before it may award, disburse or distribute Title IV,
HEA funds based on the substantial change. Substantial changes generally include, but are nat limited to: (a)
establishment of an additional location; (b} change in ownership, merger or change of type of institution (such as
conversion fom proprittary to private nonprofit); (c) increase in the level of academic offering beyond those
listed in the Institution's Eligibility and Certification Approval Report (ECAR); (d) addition of any nondegree or
short-term training program that is not within the immediate scope of programs listed in the ECAR; (2) change in
the form of educational measurement; (f) change of State authorizing agency or of primary accrediting agency; or
(g) any waiver or recognition of regulatory exception.

If the Institution applies for the Secrctary's approval of a substantial change, it must show good canse for making
any such substantial change and, in the case of any change described in (a) through (d), the Institution must
demonstrate that it has the financial and administrative resources necessary to assure the Institution's continued
complisnce with the standards of financial responsibility (34 CFR 668.15) and administrative capability (34 CFR
668:16). ,

Reasons aud Special] Conditions of Provisional Certification
Merger

The Institution hes undergone a change in ownership via merger resulting in a change in contro} and is granted
provisional certification for a period not to exceed three complete award years in which to demonstrate that it
satisfies the standards of financial stability and administrative capability.

 

OPE ID: 03019200 Page 2 . Ver. 07/04
05/10/05 TUE 12:16 FAX 2022755864 (007
Case: 05-30027 Document: an % Filed: 05/11/05 Page 3 of 13

Late Submisston of Compliance Audits

. \
The Institution has submitted one or more compliance audit(s) of its Title FV, HEA programs more than one year
after the deadline for submission. The Institution has an affirmative duty to meet the standards of conduct
required of a fiduciary, as set forth in 34 CFR 668,82. In the capacity ofa fiduciary, an institution is subject to the
highest standards of care and diligence in administering the Title IV, HEA programs in accounting for the funds
received for those programs. The failure of the Institution to submit its audit(s) in a timely manner is evidence of
lack of administrative capability under 34 CFR 668.16(a). The Institution is accountable for all audit liabilities
and fines, if any, and must resolve all audit deficiencies, if any, before the expiration of this provisional
certification. Any audit liabilities determined by the Department must be paid by the date specified in the letter
establishing the liabilities, and paid in full prior to the expiration of this Agreement unless (a) the determinations
of the audit are under appeal, or (b) alternative payment arrangements have been made with the Department's
Financial Operations Division. Further, the Institution is advised that if it fails to submit an acceptable audit by
the required date, during the provisional peried, its provisional PPA will be revoked.

Application for Recertification

Upon completion of the period of provisional certification, if the Institution wishes to apply for recertification to
participate in the Title IV, HEA programs, the Institution must submit a completed Application for Approval to
Participate in Federal Student Financial Aid Programs (ED Fonm B40-34P), together with all required supporting
documentation, no later than March 31; 2005.

Grant or Denial of Full Certification

Notwithstanding any paragraph above, the provisional certification ends upon the Department's notification to the
Institution of the Department's decision to Brant or deny a six year certification to participate in the Title IV, HEA
programs.

GENERAL TERMS AND CONDITIONS

1. The Institution understands and agrees that it is subject to and will comply with the program stamtes and.
. implementing regplations for institutional eligibility as set forth in 34 CFR Part 600 and for each Title IV,
HEA program in which it participates, as weil as the general provisions set forth in Part F and Part G of Tide
IV of the HEA, and the Student Assistance General Provisions regulations set forth in 34 CFR Part 668,

The recitation of any portion of the statute or regulations in this Agreement does not limit the Institution's
obligation to comply with other applicable statutes and regulations.

2. a, The Institution certifies that on the date it signs this Apreement, it has a drug abuse prevention program in
operation that it has determined is accessible to any officer, employee, or student at the Institution.
b. The Institution certifies that on the date it signs this Agreemenit, it is in compliance with the disclosure
requirements of Section 485(f) of the HEA (Campus Security Policy and Crime Statistics).

3. The Institution agrees to comply with --

a. Title. VI of the Civil Rights Act of 1964, as amended, and the implementing regulations, 34 CFR Parts 100
and 101 (barring discrimination on the basis of race, color or nations! origin);

b. Title IX of the Education Amendments of 1972 and the implementing regulations, 34 CFR Part 106
(berring discrimination on the basis of sex);

c. The Family Rights and Privacy Act of 1974 and the implementing regulations, 34 CFR Part 99;

 d. Section 504 of the Rehabilitation Act of 1973 and the implementing regulations, 34 CFR Part 104 (barring

discrimination on the basis of physical handicap); and

e, The Age Discrimination Act of 1975 and the implementing regulations, 34 CFR Part 110.

 

OPE ID. 03019200 Page 3 . Ver. 07/01

 
05/10/05 TUE 12:17 FAX 2022755864 ous
Case: 05-30027 Document: 34° 2 Filed: 05/11/05 Page 4of13

4. The Institution acknowledges that 34 CFR Parts 602 and 667 require accrediting agencies, State regulatory
bodies, and the Secretary to share information about institutions. The Institution agrees that the Secretary, any

accrediting agency recognized by the Secretary, and any State regulatory body may share or report information
to one another about the Institution without limitation.

4

5. The Institution acknowledges that the HEA prohibits the Secretary from recognizing the accreditation of any
institution of higher education unless that institution agrees to submit any dispute involving the final denial,
withdrawal, or termination of accreditation to initial arbitration prior to any other legal action.

SELECTED PROVISIONS FROM.
GENERAL PROVISIONS REGULATIONS, 34 CFR PART 668

By entering into this Program Participation Agrecment, the Institution agrees that:

(1) It will comply with all statutory provisious of or applicable to Title [V of the HEA, all applicable regulatory
provisions prescribed under that statutory authority, and all applicable special arrangements, agreements, and
limitations entered into under the authority of statutes applicable to Title IV of the HEA, including the requirement
that the institution will use funds it receives under any Title IV, HEA program and any interest or other carnings
thereon, solely for the purposes specified in and in accordance with that program;

(2) As a fiduciary responsible for administering Federal funds, if the institution is permitted to request funds
under a Title [V, HEA program advance payment mothod, the institution will time its requests for funds under the
program to meet the institution's immediate Title TV, HEA program needs;

’{3) It wil] not request from or charge any student a fee for processing or handling any application, form, or data
required to determine a student's eligibility for, and amount of, Title IV, HEA program assistance;

(4) It will establish and maintain such administrative and fiscal procedures and records as may be necessary to
ensure proper and efficient administration of funds received from the Secretary or from students under the Title
IV, HEA programs, together with assurances that the institution will provide, upon request and in a timely manner,
- information relating to the administrative capability and financial responsibility of the institution to~

(i) The Secretary;
_ (ii) The State [regulatory bodies} for the State or States in which the institution or any of the institution's branch
campuses or other locations are located;

. (iii) A guaranty agency, as defined in 34 CFR part 682, that guarantees loans made under the Federal Stafford
Loan, and Federal PLUS programs for attendance at the institution or any of the institution's branch campuses or
other locations;

(iv) The nationally recognized accrediting agency that accredits or preaccredits the institutian or any of the
institution's branch campuses, other locations, ar educational programs:

(v) The State agency that legally authorizes the institution and any branch campus or other location of the
institution to provide postsecondary education; and

(vi) In the case of a public postsecondary vocational educational institation that is approved by a State agency
recognized for the approval of public postsecondary vocational education, that State agency;

(5) It will comply with the provisions of financial responsibility;

(6) It will comply with the provisions of §668. 16 relating to standards of administrative capability;

(7) It will submit reports to the Secretary and, in the case of an institution participating in the Federal Stafford
Loan, Federal PLUS, or the Federal Perkins Loan Program, to holders of loans made to the institution's students
under that program at such times and containing such information as the Secretary may reasonably require to carry
out the pufpose of the Title TV, HEA programs;

(8) It will not provide any statement to any student or certification to any lender under the Federal Stafford Loan

 

OPE ID: 03019200 Pega 4 Ver. 07/01
05/10/05 TUE 12:17 FAX 2022755864
Case: 05- 30027 Document: 34-2 2 Eiled: 05/11/05 Page 5of 13

or Federal PLUS Program that qualifies the student for a loan or loans in excess of the amount that the student is
eligible to borrow in accordance with sections 425(a), 428(a)(2), 428(b)(1)(A) and (B), and 428H of the HEA;

(9) It will comply with the requirements of Subpart D of 34 CFR part 668 concerning institutional and financial
assistance information for students and prospective students;

(10) In the case of an institution that advertises job placement rates as a means of attracting students to enroll in
the institution, it will make available to prospective students, at or before the time that those students apply for
enroliment- —

(i) The most recent available data concerning employment statistics, graduation statistics, and any other
information necessary to substantiate the truthfulness of the advertisements; and

(ii) Relevant State licensing requirements of the State in which the institution is located for any job for which an
educational program offered by the institution is designed to prepare those prospective students;

' (11) In the case of an institution participating in the Federal Stafford Loan, or Federal PLUS Program, the
institution will inform all eligible borrowers, as defincd in 34 CFR part 682, enrolled in the institution about the
availability and eligibility of those borrowers for State grant assistance from the State in which the institution is
located, arid wiil inform borrowers from another State of the source for further information conceming State grant
assistance from that State;

_ (12) Ie will provide the certifications described in paragraph (c) of this section;

(13) In the case of an institution whose students receive financial assistance pursuant to section 484(d) of the
HEA, the institution will make available to those students a program proven successful in assisting students in
obtaining the recognized tquivalent of a high school diploma;

(14) It will not deny any form of Federal financial aid to any eligible student solely on the grounds that the
student is participating in a program of study abroad approved for credit by the institution;

(15) In the case. of on institution seeking to participate for the first time in the Federal Stafford Loan and Federal
PLUS programs, the institution has included a default management plan as part of its application under §668,12
for participation in those programy and will use the plan for at least two years from the date of that application,
The Secretary considers the requirements of this paragraph to be satisfied by a default management plan developed
in accordance with the default reduction measures described in the June 2001 Dear Partner Letter, GEN-01-08;

(16) In the case of an stitution that changes ownership that results in a change of control, or that changes 3 its
status as a main campus, branch campus, or an additional location, the institution will, to participate in the Federal

Stafford Loan and Federal PLUS Programs, develop a default management plan for approval by the Secretary and -

implement the plan for at least two years after the change in control or status, The Secretary considers the
requirements of this patagraph to be satisfied by a default management plan developed in accordance with the
default reduction measures described in the Jume 2001] Dear Parmer Letter, GEN-01-08;

(17) The Secretary, guaranty agencies and lenders as defined in 34 CFR Part 682, nationally recognized
accrediting agencies, the Secretary of Veterans Affairs, State (regulatory bodies], State agencies recognized under
34 CER part 603 for the approval of public postsecondary vocational education, and State agencies that legally
authorize inetitutions and branch campuses or other locations of institutions to provide postsecondary cducation,
have the authority to share with each other any information pertaining to the institution's eligibility for or
participation in the Title IV, HEA programs or any information on fraud and abuse;

(18) It will not knowingly - ,

(i) Employ in a capacity that involves the administration of the Title IV, HEA programa or the receipt of funds
under those programs, an individual who has been convicted of, or has pled nolo contendere or guilty to, a crime
involving the acquisition, use, or expenditure of Federal, State, or local government finds, or has been
administratively or judicially determined to have committed fraud or any other material violation of law involving
Federal, State, or locat government funds; .

(ii) Contract with an institution or third-party servicer that has been terminated under section 432 of the HEA for
a Teagan involving the acquisition, use, or expenditure of Federal, State, or local government funds, or that bas
been adininistratively or judicially determined to have committed fraud or any other material violation of law
involving Federal, State, or local government funds; or

(iii) Contract with or employ any individual, agency, or organization that has been, or whose officers or
employecs have been--

 

OPE ID: 03019200 Page 5 oO Ver, 07/01

se omen Dre te en I

IZ) cog
05/10/05

TUE 12:18 FAX 2022755864 AAAD i010
Case: 05-30027 Document: 34-2: Filed: 05/11/05 _Page 6 of 13

{A) Convicted of, or pled nolo contendere or guilty to, a crime involving the acquisition, usa, or expenditure
of Federal, State, or Jocal government funds; or

(B) Administratively or judicially determined to have committed fraud or any other material violation of law
involving Federal, State, or local government funds:

(19) It will complete, in a timely mamner and to the satisfaction of the Secretary, surveys conducted as a part of
the Integrated Postsecondary Education Data System (IPEDS) or any other Federal collection effort, as designated
by the Secretary, regarding data on postsecondary institutions;

(20) In the case of an institution that offers athletically related student aid, it will comply with the provisions of
paragraph (d} of this section;

(21) It will not impose any penalty, including, but not limited to, the assessment of late fees, the denial of access
to classes, libraries, or other institutional facilities, or the requirement that the student borrow additional funds for
which interest or other charges are assessed, on any student because of the student's inability to meet his or her
financial obligations to the institution as a result of the delayed disburscrucnt of the proceeds of a Title [V, HEA
program loan due to compliance with statutory and regulatory requirements of or applicable to the Title IV, HEA
programs, or delays attributable to the institution;

(22) It will not provide, nor contract with any entity that provides, any cornmission, bonus, or other incentive
payment based directly or indirectly on success in scturing enrollments or financial aid to any persons or entities
engaged in any student recruiting or admission activities or in making decisions regarding the awarding of student
financial assistance, except that this requirement shall not apply to the recruitment of foreign students residing in
foreign countries who are not eligible to receive Federal student assistance. This provision does not apply to the
giving of token gifts to students ar alumni for referring students for admission to the institution as long as: the gift
is not in the form of money, check, or money order; no more than one such gift ie given to any student or alumnus;
and the gift has a value of not more than $25;

(23) It will meet the requirements established pursuant to Part H of Title LV of the HEA by the Secretary, State
{authorizing bodies], anid nationally recognized accrediting agencles;

(24) It will comply with the refund provisions established in 668.22;

(25) It is liable for all improperly administered funds received or refunded under the Title IV, HEA programs,
including any finds. administered by ¢ third-party servicer; and

(26) If the stated objectives of an educational program of the institution are to prepare a student for gainful
employment in a recognized occupation, the institution will—

(i) Demonstrate a reasonable relationship between the length of the program and entry level requirements for the
recognized occupation for which the program prepares the student. The Secretary cousiders the relationship to be
reasonable if the number of clock hours provided in the program does not exceed by more than 50 percent the
minimum number of clock hours required for waining in the recognized occupation for which the program prepares
the student, ag established by the State in which the program is offered, if the State has establishcd such a
requirement, or as established by any Federal agency; and

(ii) Establish the need for the training for the student to obtain employment in the recognized occupation for
which the program prepares the student.

(c) In order to participate in any Title IV, HEA program (other than the SSIG and NEISP programs), the
institution must certify that it--

(1) Has in operation a drug abuse prevention program that the institution has determined to be accessible to any
officer, employee, or student at the institution; and

(2)G) Has establisbed 8 campus security policy in accordance with section 435(1) of the HEA; and

(ii) Has complied with the disclosure requirements of §668.47 as required by section 485(f) of the HEA.

(d) In order to participate in any Title IV, HBA program (other than the SSIG and NEISP programs), an
institution that offers athletically related student aid must—

(1) Cause an annual compilation, independently audited not {cs often than every 3 years, to be prepared within 6
months after the end of the institution's fiscal year, of

(i) The revenues derived by the institution from the institution's intercollegiate athletics activities, accarding to
the following categories:

(A) Total revenues.

 

OPE JD: 03019200 - Page 6 ‘ Ver. 07/0 |
09720708 TUE 12 LS EADS ITSP eDocument: SAY” Filed: 05/11/05 Page 7 of 13 011

(B) Revenues from footbal].

(C) Revenues from men's basketball.

(D) Revenues ftom women's basketball.

(E) Revenues from all other men's sports combined.
{F) Revenues from all other women's sports combined:

(ii) Expenses made by the institution for the institution's intercollegiate athletics activities, according to the
following categories:

- (A) Total expenses.

' (DB) Expenses attributable to football.

: {C) Expenses attributable to men's basketball.

* (D) Expenses attributable to women's basketball.
(E) Expenses attributable to all other men's sports combined.
(F) Expetises attributable to all other women's sports combined, and
(iii) The total revenues and operating expenses of the institution; and

(2) Make the compilation and, where allowable by State law, thc results of the audits required by paragraph
(d)(1) of this section available for inspection by the Secretary and the public.

(e) For the purposes of paragraph (d) of this section~

() Revenues from intercollegiate athletics activities allocable to a aport shall include without limitation gate |

receipts, broadcast revenues and other conference distribistions, appearance guarantees and options, concessions,
and advertising:

(2) Reventies such ag student activities fees, alunmi contributions, and investment interest income that are not
. allocable to a sport shall be included in the calculation of total revenues only; —

(3) Expenses for intercollegiate athletics activities allocable to a sport shall include without limitation grants-in-
aid, salaries, travel, equipment, and supplies; and

(4) Expenses such ag genoral and administrative overhead that are not allocable to a sport shall be included in
the calculation of total expenses only,

(HIYA program participation agreement becomes effective on the date that the Secretary signs the agreement.

(2) A new program participation agreement supersedes any prior program participation agrcement between the
- Secretary and the institution.

(gX1)(i) With respect to an institution that has been certified other than under a provisional certification—
. CA) Except as provided in paragraphs (h) and (i) of this section, the Secretary terminates a program participation
agreement through the proceedings in subpart G of this part.
(B) An institution may terminate a program participation agreement,
(C) If the Secretary or the ingtitution terminates a program participation agreement under paragraph (g) of this
section, the Secretary establishes the totmination date.
(2) With respect to an institution that has been provisionally certified, the, Secretary revokes a provisional
certification through the proceedings in §668.13(d).
(h) An institution's program pasticipation agreement automatically expires on the date that—

(D The institution changes ownership shat results in a change in control as determined by the Secretary under 34
CER part 600; or

(2) The institution's participation ends under the provisions of §668.26(8)(1), (2), (4), or (7).
(i) An institution's program participation agreement no longer applies to or covets a location of the institution as
of the date on which that location ceases to be a part of the participating institution.

WILLIAM D. FORD FEDERAL DIRECT LOAN PROGRAM

1f an institution participates in the William D. Ford Federal Direct Loan (Direct Loan) Program, the institution and
its representatives shall comply with the statute, guidelines, and regulations governing the Title IV, Part D,
. William D. Ford Federal Direct Loan Program as required by Section 454 of Public Law 103-66.

 

_ OPE ID: 03019200. ‘ Page 7 ; Ver. 07/01
05/10/05 TUE 12:19 FAX 2022755864 (ao12
Case: 05-30027 Document: 34 » Filed: 05/11/05 ‘Page 8 of 13

a

The institution will:
1. Provide for the establishment and maintenance of a Direct Loan Program at the Institution that will:

Identify eligible students who seck student financial assistance in accordance with Section 484 of the
Higher Education Act of 1965, as amended (the HBA).

Estimate the need of students as required under Title IV, Part F of the HEA.

Provide a certification statement of eligibility for students to receive loans that will not exceed the
annual or aggregate limits, oxcopt the Institution may exercise its authority, under exceptional
circumstances identificd by the Secretary, to refuse to certify a statement that permits a student to
receive 4 loan, of certify a loan amount that is Jess than the student's determination of need, if the
reason for such action is documented and provided in written form to a student.

Establish a schedule for disbursement of loan proceeds toa meet the requirements of Section 428G of
the HEA.

Provide timely and accurate information to the Secretary concerning 1) the status of borrowers while
students are in attendance, any new information pertaining to the status of student borrowers of which
the Institution becomes aware after the student leaves thc Institution, and 2) the utilization of Federal
funds under Part D at such times and in such manner as Prescribed by the Secretary.

2, Comply with requirements established by the Secretary relating to student loan information with respect to the
Dicect Loan Program.
“3. Provide that students at the Institution and their parents (with respect 10 such students) will be eligible to
" participate in the programs under Title IV, Part B of the HEA, Federal Family Education Loan programs, at the
discretion of the Secretary for the period during which such Institution participates in the Direct Loan Program,
“ except that a student or parent may not receive loans under both Part B and Part D of the HEA for the same period
g- of enrollment. ,

4, Provide for the implementation of a quality assurance system, as established by the Secretary and developed in
consultation with Institutions of higher educatian, to ensure that the Institution is complying with program
Tequirements and meeting program objectives.

5, Provide that the Institution will not charge any fees of any kind, regardless of how they are described, to student
or parent borrowers for loan application, or origination activities (if applicable), or the provision and processing of
any information necessary for a student or parent to receive a loan under Part D of the HEA.

6. Provide that the Institution will originate loans to clipible students and parents in accordance with the
* requirements of Part D of the HEA and use funds advanced to it solely for that purpose (Option 2 only).

"7. Provide that the note-or evidence of obligation of the loan shall be the property of the Sccretary (Options 2 and 1
only).

&. Implement such othor provisions as the Secretary determines are necessary to protect the interest of the United
States and to promote the purposes of Part D of the HEA.

9. 9, Accept responsibility and financial liability stemming from its failure to perform its functions under this
Program Participation Agreement.

 

-OPEID: 03019200 PageS , Ver. 07/01
05/10/05

TUE 12:19 FAX 2022755864 AAAD

Case: 05-30027. Document: 34-2. Filed: 05/11/05 Page 9 of 13 Bors

The lastitution's continued approval to participate in the Direct Loan Program will bs based on the Department of
Education's review and approval of the Institution's future applications for recertification to continue participating
in the federal student aid programa.

CERTIFICATIONS REQUIRED FROM INSTITUTIONS

The Institution should refer to the regulations cited below. Signature on this Agreerment provides for compliance
with certification requitemments under 34 CFR Part 82, "New Restrictions on Lobbying", and 34 CFR Part 85,
"Government-wide Debsrment and Suspension (Nonprocurement) and Government-wide Requirement for Drug-
Free Workplace (Grants),” Breach of any of these certificates constitutes a breach of this Agreement.

PART 1 CERTIFICATION REGARDING LOBBYING; DEBARMENT, SUSPENSION
AND OTHER RESPONSIBILITY MATTERS; AND DRUG-FREE |
WORKPLACE REQUIREMENTS

1. Lobbying

As required by Section 1352, Title 3) of the U.S. Code, and implemented at 34 CFR Part 82, for persons cntering
into a grant or cooperative agreement over $100,000, as defined at 34 CFR Part 82, Sections 82.105, and 82,110,
the Institution certifies that:

‘ (a) No Federal appropriated funds have been paid or will be paid, by or on behalf of the undersigned, to any

person for influencing or attempting to influence an officer ot employee of any agency, a Member of
‘Congress, an officer or enmployee of Congress, or an employee of a Member of Congress in connection with
« — the making of any Federal grant, the entering into of any cooperative agreement, and the extension,,
continuation, renewal, amendment, or modification of any Fedcral grant or cooperative agreement;
(b) Ifany funds other than Federal appropriated funds have been paid or will be paid to any person for
' influencing or attempting to influence an officer or employee of ony agency, a Member of Congress, an
officer or employce of Congress, or an employee of a-Member of Congress in connection with this Federal
Grant or cooperative agrecment, the Institution shal} complete and submit Standard Form - LLL, "Disclosure
_ Form to Report Lobbying," in accordance with ali subrecipients shall certify and disclose accordingly.
(c) The Institution shall require that the language of this certification be included in the award documents for all
subawards at all tiers (including subgrants, contracts under grants and cooperative agreements, and
subcontracts) and that all subrecipients shall certify aud disclose accordingly.

2. Debarment, Suspension, and Other Responsibility Matters

- As required by Executive Order 12549, Debarment and Suspension, and implemented at 34 CFR Part 85, for

oe

prospective participants in primary covered transactions as defined at 34 CFR Part 85, Sections 85.105 and

85.110, the Institution certifies that it and its principals:

&) Are not presently debarred, suspended, proposed for debarment, declared ineligible, or voluntarily excluded
from covered transactions by any Federal department or agency;

@) Have not within a three-year period preceding this application heen convicted of or had @ civil judgment

‘rendered against them for commission of fraud or a crirninal offense in connection with obtaining, attempting

to obtain, or performing a public (Federal, State, or local) transaction or contract under a public transaction;

violation of Federal or State antitrust statutes or commission of embezzlement, theft, forgery, bribery,

falsification oy destruction of records, making false statements, or receiving stolen property.

(c) Are not presently indicted for or otherwise criminally or civilly charged by a governmental entity (Federal,

State, or local) with commission of atry of the offenses enumerated in paragraph (1)\(b) of this certification;
and

(d) Have not within a three-year period preceding this application had one or more public transactions (Federal,

7
°

- State, or loca)) terminated for causc or default.

 

OPE 1D: 03019200 Pags 9 Ver.-07/01
05/10/05 TUE 12:19 FAX 2022755864 Moi
Case: 05- 30027 Document: cv 2 Filed: 05/11/05 — Page 10 of 13

3. Drug-Free Workplace (Grantees Other Than Individuals)

As required by the Drug-Free Workplace Act of 1988, and implematited at 34 CFR Part 85, Subpart F, for
grantees, as defined at 34 CFR Part 85, Sections 85.605, and 85.610 -

The Institution certifies that it will or will continue to provide 2 drug-free workplace by:

(a) Publishing a statement notifying employees that the unlawful manufacture, distribution, dispensing,
possession, or use of 4 controlled substance is prohibited in the grantee's workplace and specifying tho actions
that will be tiken against employees for violation of such prohibition;

* (b) Establishing an on-going drug-free awareness program to inform employees about-
(1) The dangers of drug abuse in the workplace;
(2) The Institution's policy of maintaining a drug-free workplace;
(3) Any available drug counseling, rehabilitation, and employee assistance programs; and
(4) The penalties that may be imposed upon employces for drug abuse violations occurring in the workplace:

(c) Making it a requirement fhat each employee to be engaged in the performance of the grant be given a copy of
the statement required by paragraph (a);

(d) Notifying the employee in the statement required by paragraph (a) that, as a condition of employment under the
grant, the employee will -

(1) Abide by the terms of the statement, and
(2) Notify the employcr in writing of his or her conviction for a violation of a criminal drug statute occurring
in the workplace no later than five calendar days after such conviction;

(ec) Notifying the agency, in writing, within 10 calendar days after recciving notice under this subparagraph (d)(2)
from an employee or otherwise receiving actual notice of such conviction. Employcrs ‘of convicted employees
must provide notice, including position title, to: Director, Grants and Contracts Service, U.S. Department of
Rducation, 400 Maryland Avenue, S.W, (Room 3124, GSA Regional Office Building No. 3), Washington, DC
20202-5140. Notice shall include the identification numbei(s) of each affected grant;

(f) Taking one of the following actions, within 30 calendar days of receiving notice under subparagraph (d)(2),
with respect to any employes who is so convicted -

(1) Taking appropriate personnel ection against such an emiployee, up to and including termination,
consistent with the requirements of the Rehabilitation Act of 1972, as amended; or

(2) Requiring such employee to participate satisfactorily in a drug abuse assistance or rehabilitation program
approved for such purposes by a Federal, State, or local health, law enforcement, or other appropriate
agency;

(g) Making a good faith effort to continue to maintain a drug-fres workplace through implementation of
paragraphs (a), (b), (c), (4), (¢), and (f).

4. Drug-Free Workplace (Grantees Who Are Individuals)

As required by the Drug-Free Workplace Act of 1988, and implemented at 34 CFR Part 85, Subpart F, for
grantees, as defined at 34 CFR Part 85, Sections 85.605, and 85.610 -

\, Asa condition of the grant, the Institution certifies that it wil] not engage in the unlawful manufacture,
distribution, dispensing, posscssion, or use of a controlled substance in conducting any activity with the grant;

2. Ifany officer or owner of the Institution is convicted of a criminal drug offense resulting from a violation
occurring during the conduct of any grant activity, the Institution will report the conviction, in writing, within
10 calendar days of the conviction, to: Director, Grants and Contracts Service, U.S. Department of Education,
400 Maryland Avenue, S.W. (Room 3124, GSA Regional Office Building No. 3), Washington, DC 20202-
5140, Notice shail include the identification mumber(s) of each affected grant.

PART 2. U.S. DEPARTMENT OF EDUCATION DRUG PREVENTION

OPE ID: 03019200 Page 10 Ver. O71

 
05/10/05 TUE 12:20 FAX 2022755864
Case: 05- 30027 | - Document: 342 3 Filed: 05/11/05 _ Page 11 of 13

CERTIFICATION

The undersigned Institution certifies that it has adopted and implemented a drug prevention program for its
students and employees that, at a minimum, includes—

_ 1. The anaual distribution in writing to each employee, and to each student who is taking one or more classes for
any king of academic credit except for continuing education units, regardless of the length of the student's
program of suidy, of:

e Standards of conduct that clearly prohibit, at 9 minimum, the unlawful possession, use, or distribution of
illicit drugs and alcohol by students and employees on its property or as part of any of its activities,

e <A description of the applicable legal sanctions under local, State or Federal law for the unlawful
possession or distribution of illicit drugs and alcohol.

e A description of the health risks associated with the use of illicit drugs and the abuse of alcohol,

» Aclear statement that the Institution will impose disciplinary sanctions on students and employees
(consistent with local, State and Federal law), and a description of those sanctions, up to and mcluding
expulsion or termination of employment and referral for prosecution, for violation of the standards of
conduct. A disciplinary sanction may include the completion of an appropriate rehabilitation program.

« <A description of any drug or alcohol counseling, treatment, or re-entry programs that are available to
employees or students, .

2. & biennial review by the Institution of its programa to:

«e > Determine its effectiveness and implement changes to the program if they are needed.
e ~—— Ensure that its disciplinary satictions are consistently enforced,

PART 3 CERTIFICATION REGARDING DEBARMENT, SUSPENSION,
INELIGIBILITY, AND VOLUNTARY EXCLUSION -- LOWER TIER
COVERED TRANSACTIONS.

The Institution is to obtain the signatures of Lower Tier Contractors on facsimiles of the certification
repraduced below, and retain in the Institution's files.

 

 

 

 

 

7 CERTIFICATION BY LOWER TIER CONTRACTOR
(Before Completing Certification, Read Jnstructions for This Part 3, below)

(1) The prospective lower tier participant certifies, by submission of this proposal, that neither it nor its
principals are presently debarred, suspended, proposed for debarment, declared. ineligible, or voluntarily
excluded from participation in this transaction by any Federal Department or Agency.

(2) Whete the prospective lower tier participant is unable to certify to any of the statements in this
certification, euch prospective participant shall attach an explanation ta this proposal, —

 

 

 

 

 

 

Name of Lower Tier Organization . PR/Award Number or Project Name
Name of Authorized Representative Title of Authorized Representative
*, Signature of Authorized Representative , , Date _

|
|

 

 

—_——a aa

 

OPE ID; 03019200 Page 11 , Ver. 07/01

015
05/10/05 TUE 12:20 FAX 2022755864

7,

Case:.05-30027 Document: 3400. Filed: 05/11/05 Page 12 of 13 . ore

. By signing and submitting this proposal, the prospective lower tler participant ig providing the certification set

out below,

The certification in this clause is a material representation of fact upon which reliance was placed when this
transaction was entered into. If it is later determined that the prospective lower tier participant knowingly
tendered an erroneous certification, in addition to other remedies available to the Federal Government, the
deportment or agency with which thig transaction originated may pursue available remedies, including
suspension and/or debarment.

. The prospective lower tier participant shall provide immediate written notices to the person to which this

proposal is submitted if at any time the prospective lower tier participant learns that ity certification was
erroneous when submitted or has become erropeous by reason of changed circumstances.

The terms "covered transaction," "debarred," “suspended,” "ineligible," "lower tier covered transaction,"
“participant,” “person,” "primary coveted transaction,” “principal,” “proposal, and “voluntarily excluded," as
used in this clause, have the meanings set out in the Defmitions and Coverage sections of rules implementing
Executive Order 12549. You may contact the person to whom this proposal is submitted for assistance in
obtaining a copy of those regulations,

The prospective lower ter participant agrees by submitting this proposal that, should the proposed covered
transaction be entered into, it shall not knowingly enter into any lower tier covered transaction with a person
who is debarred, suspended, declarcd ineligible, or voluntarily excluded from participation in this covered
transaction, unless authorized by the department or agency with which this transaction originated.

The prospective lower tier participant further agrees by submitting this proposal that it will include the clause
titled "Certification Regarding Debarment, Suspension, Incligibility, and Voluntary Exclusion~Lower Tier
Covered Transactions,” without modification, in all lower tier covered transactions and in all solicitstions for
jower tier covered transactions, ,

A participant in a covered transaction may rely upon a certification of a prospective participant in a lower tier
covered transaction that is not debarred, suspended, incligible, or voluntarily excluded from the covered
transaction, unless it knows that the cestification is erroneous. A participant may decide the method and
frequency by which it determines the eligibility of its principals. Hach participant may, but is not required to,
check the Nonprocurement List.

Nothing contalned in the foregoing shall be construed to require establishment of a system of records i in order
to render in good faith the certification required by this clanse. The knowledge and information of a participant

is Not required to exceed that which is narmally possessed by a prudent person in the ordinary course of
business dealings.

. Except for transactions authorized under paragraph 5 of these instructions, if a participant in a covered

fransaction knowingly enters into a lower tier covered transaction with 4 person who is suspended, debarred,
ineligible, or voluntarily excluded from participation in this (ransaction, in addition to other remedies available
to the Federal Government, the department or agency with which this transaction originated may pursue
available remedies, including suspension and/or debarment.

NOTE: The “Certification Regarding Debarment, Suspension, Ineligibility and Voluntary Exclusion--Lower Tier

Covered Transactions" form is to be retained by the Institution.

 

OPE ID: 03019200 Pagel2 Ver. 07/01
____ 05/10/05 TUE 12:21 FAX 2022755864 . -
Case: 05-30027 Document: 34-3“""Filed: 05/11/05 Page 13 of 13 2017

—

IN WITNESS WHEREOF
Une parties hereto have caused this Agreomont to be executed by theic duly authorized representatives.

Sigmar of eaition's Fy 4 a el Z Ea, S. Date: OF- CF-ORY
Print Name and Title: Francine Hal , £4.S.

President

   
 
  

For the Secretary:  -
U.S. Department of Education:

 

OPE ID: 03019200 Page 13 Ver. 07/01
